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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                                                   :
 HILLARY LAWSON, KRISTINA HALLMAN,                                 :
 and STEPHANIE CALDWELL,                                           :    Case No.: 1:17-cv-06404
                                                                   :
                                         Plaintiffs,               :    NOTICE OF APPEARANCE
                                                                   :
                          -against-                                :
                                                                   :
 HOWARD RUBIN, JENNIFER POWERS, YIFAT                              :
 SCHNUR, STEPHANIE SHON, JOHN DOE,                                 :
 BLUE ICARUS, LLC, and the DOE COMPANY.                            :
                                                                   :
                                          Defendants.

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        PLEASE TAKE NOTICE THAT Jolene LaVigne-Albert, an attorney admitted to

practice in this Court, of the law firm Schlam Stone & Dolan LLP, is appearing in this action as

counsel for Defendant Jennifer Powers. Please take further notice that all papers and

correspondence in this proceeding should be directed to this firm.

Dated: New York, New York
       November 15, 2017

                                                                 SCHLAM STONE & DOLAN LLP

                                                                 By: /s/ Jolene LaVigne-Albert
                                                                 Jolene LaVigne-Albert
                                                                 26 Broadway
                                                                 New York, New York 10004
                                                                 Telephone: (212) 344-5400
                                                                 Facsimile: (212) 344-7677
                                                                 jlavignealbert@schlamstone.com

                                                                 Attorneys for Defendant Jennifer Powers
